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                        EXHIBIT 1
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                      IN THE UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF NEW JERSEY
                                  NEWARK VICINAGE

                                                :
  DEAN BOONE, individually, and on              :
  behalf of all others similarly situated,      :
                                                :   Civil Action No. 2:17-cv-00378
                         PLAINTIFF,             :
                                                :
                 v.                             :   THIRD AMENDED CLASS ACTION
                                                :   COMPLAINT
  T-MOBILE USA, INC.,                           :
                                                :   DEMAND FOR JURY TRIAL
                         DEFENDANT.             :
                                                :

        Plaintiff Dean Boone, by and through his attorneys, The Kim Law Firm, LLC, Profy

 Promisloff & Ciarlanto, P.C., and Ferrara Law Group, P.C. and on behalf of himself, and the

 Putative Classes set forth below, and in the public interest, hereby brings the following

 class action Complaint against Defendant T-Mobile USA, Inc., pursuant to the Fair Credit

 Reporting Act, 15 U.S.C. § 1681, et seq. (the “FCRA”) and the New Jersey Fair Credit Reporting

 Act N.J.S.A. 56:11-28, et seq. (the “NJ FCRA”).

                                PRELIMINARY STATEMENT

        1.      This case concerns Defendant T-Mobile USA, Inc.’s (“Defendant,” “T-Mobile,” or

 the “Company”) willful accessing of sensitive personal information of consumers in violation of

 the FCRA and NJ FCRA.

        2.      T-Mobile provides wireless communications services, including voice, messaging

 and data. The Company conducts “hard” credit inquiries of potential customers in order to

 determine plan eligibility.

        3.      T-Mobile, however, routinely and regularly obtains the credit reports of consumers

 through “hard” credit inquiries, without any permissible purpose. Further, T-Mobile willfully and

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 knowingly obtains consumer reports from credit reporting agencies under false pretenses by

 representing to consumers that Defendant will only obtain consumer reports through a “soft” credit

 inquiry, but instead T-Mobile conducts a “hard” credit inquiry when it obtains consumers’ reports.

        4.      Accordingly, Plaintiff, individually, and on behalf of all others similarly situated,

 seeks to obtain redress for a nationwide class of consumers.

                                             PARTIES

        5.      Individual and representative Plaintiff Dean Boone (“Mr. Boone,” “Boone,” or

 “Plaintiff”) is a resident of Mahwah, New Jersey. Mr. Boone is a member of the Putative Classes

 defined below, and is a consumer as that term is defined by 15 U.S.C. § 1681a(c) and N.J.S.A.

 56:30-11.

        6.      Defendant T-Mobile is a corporation that provides telephone and data services

 throughout the country, is registered to do business in the State of New Jersey, and has designated

 its registered agent for service as Corporation Service Company at 830 Bear Tavern Road, West

 Trenton, NJ 08628. The corporate office for T-Mobile is located at 4 Sylvan Way, Parsippany, NJ

 07054. T-Mobile is a “person” as defined by 15 U.S.C. § 1681a(b) and N.J.S.A. 56:11-30.

        7.      At all relevant times, Defendant ratified each and every act or omission complained

 of herein. At all relevant times, Defendant aided and abetted the acts and omissions alleged herein.

                                 JURISDICTION AND VENUE

        8.      This Court has federal question jurisdiction over Plaintiff’s FCRA claims pursuant

 to 28 U.S.C. § 1331 and pursuant to the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d).

        9.      This Court has supplemental jurisdiction over Plaintiff’s NJ FCRA claim pursuant

 to 28 U.S.C. § 1367.




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        10.     Venue is proper in the District of New Jersey, Newark Vicinage, as Defendant

 engages in substantial business activity in this District, and a substantial part of the events or

 omissions giving rise to the claim occurred within this District, 28 U.S.C. § 1391(b).

                                   FACTUAL ALLEGATIONS

        11.     On or about April 21, 2016, Plaintiff traveled to a T-Mobile store in Paramus, New

 Jersey and spoke with an employee of Defendant to make a general inquiry about the availability

 of cell phone plans and rates.

        12.     Plaintiff made clear that he did not want his consumer report to be accessed if a

 “hard” credit inquiry was required.

        13.     The distinction between a “soft” and “hard” credit inquiry is substantial.

 Specifically, a “hard” inquiry reduces a consumer’s credit score, remains on credit reports for two

 years, and contains substantially more information (that is confidential and personal) than a “soft”

 inquiry. Further a “soft” inquiry does not appear on a credit report to any inquiring party 1, and

 does not lower an individual’s credit score. See 15 U.S.C. §§ 1681b(a)(3)(A) and 1681b(c).

        14.     Moreover, a “hard” inquiry reduces a consumer’s credit score, and remains on

 credit reports for two years, while a “soft” inquiry does neither.

        15.     The representative agreed that T-Mobile would only obtain Plaintiff’s credit report

 through a “soft” inquiry, and not a “hard” inquiry.

        16.     Plaintiff did not initiate a transaction, and T-Mobile had no permissible purpose to

 obtain Plaintiff’s credit report. Thus, T-Mobile was required to, but did not receive written




 1
        A “soft” inquiry is only visible to the individual whom the credit report relates. As such,
 no inquiring party is able to view the “soft” inquiries, especially the number of soft inquiries that
 has occurred.
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 instructions from Plaintiff, as required pursuant to 15 U.S.C. 1681b(a)(2) of the FCRA, prior to

 accessing Plaintiff’s consumer report.

        17.     Plaintiff never signed any agreement and never agreed to any services from

 Defendant. Plaintiff only subsequently learned that T-Mobile, without written authorization to do

 so, had obtained his credit report through a “hard” credit inquiry that appeared on his credit report.

        18.     Indeed, it is well established that merely inquiring about the possibility of a future

 transaction, or shopping for rates, is insufficient to satisfy the requirement of the FCRA to initiate

 the kind of full credit inquiry that is allowed when a consumer has initiated a transaction.

        19.     Over fifteen years ago, the FTC opined that a customer who “‘comes to an

 automobile dealership and requests information’ from a salesman about one or more automobiles”

 had not initiated a transaction sufficient to allow the dealership to pull a credit report. FTC Letter

 to Coffey (Feb. 11, 1998), available at http://www.ftc.gov/policy/advisoryopinions/advisory-

 opinion-coffey-02-11-98, and attached as Exhibit “A”.

        20.     T-Mobile has routinely and systematically obtained credit reports on prospective

 customers with no permissible purpose or written consent, and does so under false pretenses,

 resulting in “hard” credit inquiries.

        21.     T-Mobile continuously obtains full consumer reports under false pretenses by

 intentionally misleading consumers into believing T-Mobile will not perform a “hard” credit

 inquiry. T-Mobile then proceeds with conducting a “hard” inquiry, which is recorded on T-

 Mobile’s customers’ consumer reports, resulting in a disclosure of unauthorized private

 information as well as a reduction in credit score.

        22.     Complaints are found strewn throughout the public domain, but Defendant has done

 nothing to remedy the illegal behavior, which persists on a systemic basis. For example:



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       https://www.facebook.com/TMobile/posts/101543490545




 https://www.reddit.com/r/tmobile/comments/3vrl57/why_does_tmobile_keep_doing_hard_credit
 _inquiries/

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 https://www.facebook.com/TMobile/posts/10152373344468895

 https://www.facebook.com/TMobile/posts/10154349054518895




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 https://support.t-mobile.com/thread/80882?start=0&tstart=0

        23.    T-Mobile is an established business with access to legal advice through its own

 general counsel’s office and outside counsel, yet still continuously and extensively violates the

 law even after having been notified of the wrongdoing.

        24.    At all times pertinent hereto, Defendant was acting by and through its agents,

 servants and/or employees who were acting within the course and scope of their agency or

 employment, and under the direct supervision and control of the Defendant.
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        25.     At all times pertinent hereto, the conduct of the Defendant, as well as that of its

 agents, servants and/or employees, was intentional, willful, reckless, and in grossly negligent

 disregard for federal and state laws and the rights of the Plaintiff.

        26.     As a result of Defendant’s conduct, the Plaintiff and members of the Putative

 Classes have suffered concrete injuries. In addition to having their privacy invaded, informational

 injuries, reduction in credit scores (inquiries for which remain on credit reports for two years),

 Plaintiff and members of the Putative Classes have had their personal identifying information

 unnecessarily disseminated to the Defendant, and, upon information and belief to its related

 information-sharing affiliates. Defendant has subjected consumer class members to increased risk

 of identity theft and/or a data breach, resulting in consequential anxiety and emotional distress.

 These injuries are particularized and concrete, but difficult to quantify rendering the recovery of

 class statutory damages ideal and appropriate.

                                CLASS ACTION ALLEGATIONS

        27.     Plaintiff asserts his claim in Count One individually and on behalf of the “FCRA

 Impermissible Purpose Class” defined as follows:

                FCRA Impermissible Purpose Class. All persons within the
                United States who had a hard credit inquiry performed on his or her
                credit by Defendant who had not authorized a hard inquiry, thereby
                obtaining a persons’ credit report without any permissible purpose,
                within the five years prior to the filing of the Complaint until the
                date of final judgment in this action.

        28.     Plaintiff also asserts his claim in Count One individually and on behalf of the

 “FCRA False Pretense Class”:

                FCRA False Pretense Class. All persons within the United States
                who had a hard credit inquiry performed on his or her credit by
                Defendant who had not previously authorized a hard inquiry, and
                without permissible purpose, whose credit reports were obtained



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                 under false pretenses, within the five years prior to the filing of the
                 Complaint until the date of final judgment in this action.

         29.     Plaintiff asserts his claim in Count Two individually and on behalf of the “NJ

  Impermissible Purpose Class” defined as follows:

                 NJ FCRA Impermissible Purpose Class. All persons within New
                 Jersey who had a hard credit inquiry performed on his or her credit
                 by Defendant, who had not authorized a hard inquiry, thereby
                 obtaining a persons’ credit report without any permissible purpose,
                 within the five years prior to the filing of the Complaint until the
                 date of final judgment in this action.

         30.     Plaintiff also asserts his claim in Count Two individually and on behalf of the

  “FCRA False Pretense Class”:

                 NJ FCRA False Pretense Class. All persons within New Jersey
                 who had a hard credit inquiry performed on his or her credit by
                 Defendant who had not previously authorized a hard inquiry, and
                 without permissible purpose, whose credit reports were obtained
                 under false pretenses, within the five years prior to the filing of the
                 Complaint until the date of final judgment in this action.

         31.     Numerosity. The members of the Putative Classes are so numerous that the

  individual joinder of all of its members is impracticable. While the exact number and identities of

  the members of the Putative Classes are unknown to Plaintiff at this time, and can only be

  ascertained through appropriate discovery, Plaintiff is informed and believes that the Putative

  Classes include thousands of members, which can be ascertained by the records maintained by

  Defendant.

         32.     Typicality. Plaintiff and members of the Putative Classes were harmed by the acts

  of Defendant in at least the following ways: Defendant routinely accesses consumer credit reports

  of prospective customers and with no permissible purpose. Moreover, Defendant routinely

  represents that it will only obtain credit reports through “soft” inquiries, but instead obtained the

  credit reports of Plaintiff and the Putative Class members through “hard” inquiries. The FCRA

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  and NJ FCRA violations suffered by Plaintiff are typical of those suffered by other members of

  the Putative Classes, and T-Mobile treated Plaintiff consistent with other members of the Putative

  Classes.

          33.      Adequacy. Plaintiff is an adequate representative of the Putative Classes. As a

  person who had his credit report obtained by Defendant without any permissible purpose and under

  false pretenses, Plaintiff’s interests are aligned with, and are not antagonistic to the interests of the

  members of the Putative Classes. Plaintiff has retained counsel competent and experienced in

  complex class action litigation.

          34.      Commonality. Common questions of law and fact exist as to all members of the

  Putative Classes and predominate over any questions solely affecting individual members of the

  Putative Classes, including but not limited to:

                a. Whether Defendant obtained consumer reports without a permissible purpose and

                   without written authorization;

                b. Whether Defendant obtained consumer reports without a permissible purpose and

                   without written authorization, and under false pretenses by representing to the

                   consumer that credit reports would be obtained through “soft” inquiries, when in

                   fact credit reports were obtained through “hard” inquiries;

                c. Whether Defendant’s actions violated the FCRA and NJ FCRA by obtaining

                   consumer reports through false pretenses by representing to the consumer that they

                   were obtaining credit reports through “soft” inquiries, when credit were obtained

                   through “hard” inquiries;

                d. The proper measure of statutory and punitive damages; and

                e. The proper form of injunctive and declaratory relief.



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          35.     This case is maintainable as a class action under Fed. R. Civ. P. 23(b)(1) because

  prosecution of actions by or against individual members of the Putative Classes would result in

  inconsistent or varying adjudications and create the risk of incompatible standards of conduct for

  Defendant. Further, adjudication of each individual Putative Class member’s claim as a separate

  action would potentially be dispositive of the interest of other individuals not a party to such action,

  impeding their ability to protect their interests.

          36.     This case is maintainable as a class action under Fed. R. Civ. P. 23(b)(2) because

  Defendant has acted or refused to act on grounds that apply generally to the Putative Classes, so

  that final injunctive relief or corresponding declaratory relief is appropriate respecting the Putative

  Classes as a whole.

          37.     Class certification is also appropriate under Fed. R. Civ. P. 23(b)(3) because

  questions of law and fact common to the Putative Classes predominate over any questions affecting

  only individual members of the Putative Classes, and because a class action is superior to other

  available methods for the fair and efficient adjudication of this litigation. Defendant’s conduct

  described in this Complaint stems from common and uniform policies and practices, resulting in

  common violations of the FCRA and NJ FCRA. Members of the Putative Classes do not have an

  interest in pursuing separate actions against Defendant, as the amount of each Class member’s

  individual claims is small compared to the expense and burden of individual prosecution, and

  Plaintiff is unaware of any similar pending claims brought against Defendant by any members of

  the Putative Classes on an individual basis. Class certification also will obviate the need for unduly

  duplicative litigation that might result in inconsistent judgment concerning Defendant’s practices.

  Moreover, management of this action as a class action will not present any likely difficulties. In




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  the interests of justice and judicial efficiency, it would be desirable to concentrate the litigation of

  all Putative Class members’ claims in a single forum.

            38.    Plaintiff intends to provide notice to all members of the Putative Classes to the

  extent required by Rule 23. The name and addresses of the Putative Class members are available

  from Defendant’s records.

            39.    Plaintiff represents, and is a member of the Putative Classes, consisting of all

  persons within the United States who had a hard inquiry performed on his or her credit by

  Defendant and such person had not previously authorized a hard inquiry within the five years prior

  to the filing of the Complaint.

                                        CAUSES OF ACTION

                                             COUNT ONE

            (Asserted on behalf of Plaintiff and the FCRA False Pretense Class and FCRA
                                    Impermissible Purpose Class)

                              Violation of the Fair Credit Reporting Act

                                        15 U.S.C. § 1681 et seq.

            40.    Plaintiff incorporates by reference the preceding paragraphs as if fully set forth

  herein.

            41.    Plaintiff is a “consumer” as defined by the FCRA.

            42.    T-Mobile is a “person” as defined by the FCRA.

            43.    Defendant’s conduct violates both 15 U.S.C. § 1681q and 15 U.S.C. § 1681b by

  obtaining a consumer report under false pretenses by intentionally misleading Plaintiff, or

  knowingly without a permissible purpose and without authorization from Plaintiff, or permissible

  purpose.




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            44.     The foregoing violations were willful. T-Mobile knew that it was not authorized

  to request Plaintiff’s credit report, and acted in deliberate or reckless disregard of its obligations

  and the rights of Plaintiff and other Class members under 15 U.S.C. § 1681b.

            45.     Plaintiff and the Classes are entitled to statutory damages of not less than $100 and

  not more than $1,000 for each and every one of these violations, pursuant to 15 U.S.C. §

  168ln(a)(l)(A).

            46.     Plaintiff and the Classes are entitled to punitive damages for these violations,

  pursuant to 15 U.S.C. § 1681n(a)(2).

            47.     Plaintiff and the Classes are further entitled to recover their costs and attorneys’

  fees, pursuant to 15 U.S.C. § 1681n(a)(3).

                                              COUNT TWO

       (Asserted on behalf of Plaintiff and the NJ FCRA False Pretense Class NJ FCRA
                                 Impermissible Purpose Class)

                        Violation of the New Jersey Fair Credit Reporting Act

                                         N.J.S.A. 56:11-28, et seq.

            48.     Plaintiff incorporates by reference the preceding paragraphs as if fully set forth

  herein.

            49.     Defendant’s conduct violated the NJ FCRA by obtaining a consumer report under

  false pretenses or knowingly without a permissible purpose by obtaining Plaintiff’s credit report

  in connection with a credit transaction in which he did not authorize to be involved in, and for no

  other permissible purpose. N.J.S.A. 56:11-31a; N.J.S.A 56:11-40.

            50.     The foregoing violations were willful. T-Mobile knew that it was not authorized

  to request Plaintiff’s credit report, and acted in deliberate or reckless disregard of its obligations

  and the rights of Plaintiff and other Class members.

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          51.      Plaintiff and the Classes are entitled to statutory damages of not less than $100 and

  not more than $1,000 for each and every one of these violations, pursuant to N.J. Stat. 56:11-

  38a(1)(a).

          52.      Plaintiff and the Classes are entitled to punitive damages for these violations,

  pursuant to N.J. Stat. 56:11-38a(2).

          53.      Plaintiff and the Classes are further entitled to recover their costs and attorneys’

  fees, pursuant to N.J. Stat. 56:11-38a(3).

                                         PRAYER FOR RELIEF

          54.      WHEREFORE, Plaintiff, on behalf of himself and the Putative Classes, prays for

  relief as follows:

                a. Determining that this action may proceed as a class action under Rule 23(b)(1), (2)

                   and (3) of the Federal Rules of Civil Procedure;

                b. Designating Plaintiff as class representative and designating Plaintiff’s counsel as

                   counsel for the Putative Classes;

                c. Issuing proper notice to the Putative Classes at Defendant’s expense;

                d. Declaring that T-Mobile committed multiple, separate violations of the FCRA and

                   the NJ FCRA;

                e. Declaring that T-Mobile acted willfully in deliberate or reckless disregard of

                   Plaintiff’s rights and its obligations under the FCRA and NJ FCRA;

                f. Awarding appropriate equitable relief, including, but not limited to, an injunction

                   forbidding T-Mobile from engaging in further unlawful conduct in violation of the

                   FCRA and the NJ FCRA;




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          g. Awarding statutory damages and punitive damages as provided by the FCRA and

              NJ FCRA;

          h. Awarding reasonable attorneys’ fees and costs;

          i. Awarding Plaintiff and the class treble damages where appropriate; and

          j. Granting such other and further relief, in law or equity, as this Court may deem just

              and appropriate.

                                         JURY DEMAND

       Plaintiff hereby demands a trial by jury as to all issues so triable.


                                                      Respectfully submitted,

                                                      THE KIM LAW FIRM, LLC

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